Case 3:07-cv-00961-HLA-MCR   Document 1   Filed 10/11/07   Page 1 of 22 PageID 1
Case 3:07-cv-00961-HLA-MCR           Document 1        Filed 10/11/07     Page 2 of 22 PageID 2




Federal Racketeer Influenced and Corrupt Organizations Act and civil remedies for Criminal

Practices Act.

2.     Defendants are in violation of contracts between Plaintiff and Defendants by Defendants

failure to pay Plaintiff its proportional share of income, after Defendants received payment on

contracts procured by Plaintiff approximating $100 million.

3.     Unlimited Resources provides emergency and disaster related resources and services on a

for-hire and/or contract basis for third party persons and entities. Such services include, but are

not limited to, marketing, consultation, client identification, and contract procurement, by

utilizing unique disaster expertise and professional relationships that Unlimited Resources, by

and through its officers, have developed and carefully cultivated over their professional careers

in both the private and public sectors (the “Emergency Disaster Contacts and Contracts”).

4.     Deployed Resources constructs, operates, and provides life support facilities (Base

Camps) and equipment during emergencies after it received and usurped the Emergency Disaster

Contacts and Contracts for the financial benefit of Deployed Resources and the “Deployed

Defendants” as defined herein.

                                             Parties

5.     Plaintiff, Unlimited Resources, is a corporation organized and existing under the laws of

Florida, with its principal place of business located in Ponte Vedra Beach, St. Johns County,

Florida.

6.     Defendant, Deployed Resources, is a limited liability company organized and existing

under the laws of the State of New York, doing business in Florida as a foreign limited liability

company.




                                                2
Case 3:07-cv-00961-HLA-MCR             Document 1        Filed 10/11/07       Page 3 of 22 PageID 3




7.     Defendant, Stapleton, is a managing member of Deployed Resources residing in Rome,

Oneida County, New York.

8.     Defendant, Napior, is a managing member of Deployed Resources residing in Brookline,

Hillsborough County, New Hampshire.

9.     Defendant, Frisch, is a managing member of Deployed Resources residing in Scotch

Plains, New York. Stapleton, Napior and Frisch are collectively referred to as the “Members”.

10.    Defendants, John Doe and Jane Doe, are individuals or entities whose identity and

domicile are not yet known, but whose are believed to be conspiring with the Deployed

Defendants.

11.    At all times material hereto, Deployed Resources has functioned as the alter ego and

instrumentality of the Members, and other, yet to be identified but related, John Doe and Jane

Doe persons and entities, being inadequately capitalized and formed for improper and illegal

purpose including, but not limited to, tax avoidance, fraudulent transfer, income shelter, creditor

avoidance, accounting frustration, and to commit the illegal and deceptive acts described herein.

12.    At all times material hereto, Deployed Resources and the Members, have acted in various

combinations, on behalf of themselves, and on behalf of others, jointly and severally,

individually and collectively, in disregard of corporate form and distinction, such that the act of

one is the act of the others and vice versa (collectively the “Deployed Defendants”).

                                      Jurisdiction and Venue

13.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332, as this is an action

between citizens of different states for damages exceeding the sum of $75,000, exclusive of

interest and costs, and for related equitable relief within the jurisdiction of this Court.




                                                   3
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07      Page 4 of 22 PageID 4




14.     At all times material hereto, Defendants Deployed Resources, Stapleton, Napior and

Frisch conducted business within the geographical area comprising the federal Middle District of

Florida, and as such this Court has personal jurisdiction over Deployed Resources, Stapleton,

Napior, Frisch, John Doe and Jane Doe, pursuant to Fla. Stat. § 48.193(1)(a), (b), and (g).

15.     Venue is proper within this judicial district pursuant to 28 U.S.C. § 1391, since the

Defendants do business in Duval County, Florida and a substantial part of the events or

omissions giving rise to the claim occurred in Duval County, Florida.

                                       General Allegations

16.     Prior to 2001, the Deployed Defendants were exclusively engaged in the procurement

and provision of services related to large scale public and/or private music concerts and festivals.

17.     The Deployed Defendants wanted to expand business operations into the emergency

disaster resource market but lacked the necessary contacts and expertise in order to accomplish

this task.

18.     The Deployed Defendants engaged Unlimited Resources to provide the Deployed

Defendants with the Emergency Disaster Contacts and Contracts based on the unique expertise

and experience of Unlimited Resources that it acquired through 25 years of emergency disaster

service work, by and through its president, Charles E. Johnson (“Johnson”).

19.     Johnson worked in both the private and public sector providing and coordinating national

emergency relief efforts and services on behalf of state and federal government entities,

including but not limited to, the Department of Defense, the Federal Emergency Management

Agency, the Department of Community Affairs, the Division of Emergency Management, and

the National Red Cross, where he served as regional director and Red Cross officer for disaster

operations.




                                                 4
Case 3:07-cv-00961-HLA-MCR           Document 1       Filed 10/11/07      Page 5 of 22 PageID 5




20.    In connection with this work, Johnson received numerous accolades of professional

achievement, multiple awards, personal recognition, and, for present purposes herein, developed

numerous personal and professional friendships, contacts and a client base from which he built

the Emergency Disaster Contacts and Contracts.

21.    In stark contrast, none of the Deployed Defendants had any emergency disaster expertise,

contacts, licenses, or qualifications of any kind to procure contracts with federal agencies, state

agencies, or the private sector.

22.    The Deployed Defendants engaged Unlimited Resources to identify clients, and aid in the

procurement of emergency disaster contracts for the financial benefit of the Deployed

Defendants, for which the Deployed Defendants represented, agreed, and promised that income

derived there from, in all form and manner, or in any way related to the Emergency Disaster

Contacts and Contract, would then and be forever shared with Unlimited Resources, who had an

unrestricted right to request an accounting for the income received on an as-needed basis.

23.    In reliance thereupon, Unlimited Resources duly marketed the product and services of the

Deployed Defendants using its extensive network of emergency contacts to obtain lucrative

emergency disaster contracts approximating $100 million for the Deployed Defendants.

24.    Procurement of these contracts was only possible through the expertise, reputation, and

professional contacts of Unlimited Resources, and particularly its president.

25.    At all times, Unlimited Resources reposed the highest level of fiduciary trust, duty, and

honor to the Deployed Defendants in providing and obtaining the Emergency Contacts and

Contracts, believing, albeit incorrectly, that the Deployed Defendants would honor their

fiduciary duty by paying Unlimited Resources its proportional share of income.




                                                5
Case 3:07-cv-00961-HLA-MCR            Document 1        Filed 10/11/07    Page 6 of 22 PageID 6




26.       To date, the Deployed Defendants refuse to pay Unlimited Resources its proportional

share of income, after receiving payment on contracts procured by Unlimited Resources

approximating $100 million in violation of the party’s agreements.

27.       Additionally, the Deployed Defendants refuse to provide accounting as to monies

received, to which Unlimited Resources is duly entitled.

28.       All conditions precedent have been performed or have been waived.

29.       As a result of Defendants’ tortuous and criminal conduct, Unlimited Resources has been

required to retain the undersigned trial counsel to prosecute this claim, and it has agreed to pay

such counsel a reasonable fee for their services.

                            COUNT I – BREACH OF CONTRACT

30.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

herein.

31.       The Deployed Defendants engaged Unlimited Resources to provide the Emergency

Disaster Contacts and Contracts to identify clients and procure emergency disaster contracts for

the financial benefit of the Deployed Defendants and Unlimited Resources for which they orally

agreed that all income derived there from of all form and manner, or in any way related to the

Emergency Disaster Contacts and Contracts, would be shared with Unlimited Resources, who

had an unrestricted right to request an accounting for the income received on an as-needed basis

(the “Contract”).

32.       At all times material hereto, the Deployed Defendants and Unlimited Resources were

bound by the terms of the Contract and each party had a duty to comply.




                                                    6
Case 3:07-cv-00961-HLA-MCR           Document 1       Filed 10/11/07      Page 7 of 22 PageID 7




33.    Unlimited Resources duly performed the Contract by marketing the product and services

of the Deployed Defendants using its extensive network of emergency contacts to obtain

lucrative emergency disaster contracts approximating $100 million for the Deployed Defendants.

34.    The procurement of these contracts was only possible through the expertise, reputation,

and professional contacts of Unlimited Resources, by and through its president.

35.    Notwithstanding the terms of the Contract, the Deployed Defendants breached the

Contract by refusing to pay Unlimited Resources its rightful share of all income derived there

from of all form and manner, or in any way related to the Emergency Disaster Contacts and

Contract.

36.    As a result of the breach, Unlimited Resources has been damaged.

       WHEREFORE, Unlimited Resources demands judgment for damages against the

Deployed Defendants, together with interest, costs, and all other relief deemed just and proper.

                COUNT II – BREACH OF PARTNERSHIP AGREEMENT

37.    Unlimited Resources incorporates by reference paragraphs 1-29 and 34 as if fully set

forth herein.

38.    The Deployed Defendants and Unlimited Resources agreed that if Unlimited Resources

invested with the Deployed Defendants by providing its Emergency Disaster Contacts and

Contracts to identify clients and procure emergency disaster contracts for the financial benefit of

the Deployed Defendants, that Unlimited Resources, as legal, equitable, and/or de-facto co-

owner, of the business of the Deployed Defendants, was entitled to receive and fully share all

income derived there from of all form and manner, or in any way related to the Emergency

Disaster Contacts and Contracts (the “Partnership Agreement”).




                                                7
Case 3:07-cv-00961-HLA-MCR           Document 1       Filed 10/11/07      Page 8 of 22 PageID 8




39.    At all times material hereto, the Deployed Defendants and Unlimited Resources were

bound by the terms of the Partnership Agreement and each party had a duty to comply.

40.    Unlimited Resources duly executed its obligations under the Partnership Agreement by

marketing the product and services of the Deployed Defendants using its extensive network of

emergency contacts to obtain lucrative emergency disaster contracts approximating $100 million

for the Deployed Defendants.

41.    Notwithstanding Unlimited Resources’ performance, the Deployment Defendants

breached the Partnership Agreement by refusing to pay Unlimited Resources its rightful share of

income derived there from of all form and manner, or in any way related to the Emergency

Disaster Contacts and Contracts.

42.    This breach was done willfully, wantonly, and maliciously, for the sole purpose of

inequitably denying Unlimited Resources its rightful share of income.

43.    As a result of this breach, Unlimited Resources has been damaged.

       WHEREFORE, Unlimited Resources demands judgment for damages, against the

Deployed Defendants, together with interest, costs, and all other relief deemed just and proper.

                COUNT III – BREACH OF JOINT VENTURE AGREEMENT

44.    Unlimited Resources incorporates by reference paragraphs 1-29 and 34 as if fully set

forth herein.

45.    The Deployed Defendants and Unlimited Resources agreed that if Unlimited Resources

invested with the Deployed Defendants by providing its emergency disaster contacts to identify

initial clients and procure initial emergency disaster contracts for the financial benefit of the

Deployed Defendants, that Unlimited Resources was entitled to receive and fully share all




                                                8
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07      Page 9 of 22 PageID 9




income derived from these initial contracts there from of all form and manner, or in any way

related to initial contracts (the “Joint Venture Agreement”).

46.       At all times material hereto, the Deployed Defendants and Unlimited Resources were

bound by the terms of the Joint Venture Agreement and each party had a duty to comply.

47.       Unlimited Resources duly executed its obligations under the Joint Venture Agreement by

marketing the product and services of the Deployed Defendants using its extensive network of

emergency contacts to obtain initial lucrative emergency disaster contracts approximating $100

million for the Deployed Defendants.

48.       Notwithstanding Unlimited Resources’ performance, the Deployed Defendants breached

the Joint Venture Agreement by refusing to pay Unlimited Resources its rightful share of income

derived there from of all form and manner, or in any way related to the initial contracts.

49.       As a result of the breach, Unlimited Resources has been damaged.

          WHEREFORE, Unlimited Resources demands judgment for damages against the

Deployed Defendants, together with interest, costs, and all other relief deemed just and proper.

                             COUNT IV – UNJUST ENRICHMENT

50.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

herein.

51.       The Deployed Defendants received a benefit from the services Unlimited Resources

provided.

52.       The Deployed Defendants requested the benefit, or knowingly and voluntarily accepted

it, by accepting Unlimited Resources services.

53.       The Deployed Defendants failed to compensate Unlimited Resources for its services.




                                                 9
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07     Page 10 of 22 PageID 10




 54.       The benefit referenced above flowed to the Deployed Defendants and, under the

 circumstances; it would be inequitable for the Deployed Defendants to retain the benefit without

 paying the value thereof.

           WHEREFORE, Plaintiff demands judgment for damages, including any multipliers

 permitted, against the Deployed Defendants, together with interest, costs, and all other relief

 deemed just and proper.

                               COUNT V – SERVICES RENDERED

 55.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 56.       Unlimited Resources rendered the service of accessing its emergency disaster contacts to

 identify clients and procure emergency disaster contracts for the financial benefit of the

 Deployed Defendants.

 57.       For rendering this service, the Deployed Defendants owe Unlimited Resources, pursuant

 to their agreement, a percentage of income derived there from of all form and manner, or in any

 way related to the Emergency Disaster Contacts and Contracts.

           WHEREFORE, Plaintiff demands judgment for damages against the Deployed

 Defendants, together with interest, costs, attorney’s fees, and all other relief deemed just and

 proper.

                                   COUNT VI – ACCOUNTING

 58.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.




                                                  10
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07     Page 11 of 22 PageID 11




 59.       Pursuant to the Contract, Unlimited Resources has a right to full accounting to ascertain

 the total income received from the Deployed Defendants from which it is entitled to pay its full

 share.

 60.       The Deployed Defendants have secreted, hidden, and wasted away monies belonging to

 Unlimited Resources that were earned based on the Emergency Disaster Contacts and Contracts

 but never paid Unlimited Resources and have procured additional contracts and payments

 streams based on the Emergency Disaster Contact and Contracts.

 61.       The Deployed Defendants will squander all monies received from the Emergency

 Disaster Contacts and Contracts unless all manner of funds, accounts, payment streams, and

 contracts be placed in receivership and all contract payments attached and liened pending

 resolution hereof.

 62.       Because the Deployed Defendants failed to comply with their obligations to pay

 Unlimited Resources its share of the profits, Unlimited Resources requests an accounting.

           WHEREFORE, Plaintiff demands judgment for a full accounting from the Deployed

 Defendants, that all monies and accounts be frozen and placed in receivership, and all contract

 payments be attached and liened, plus damages and other relief as this Court deems just and

 proper.

                         COUNT VII – BREACH OF FIDUCIARY DUTY

 63.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 64.       Unlimited Resources reposed the highest level of fiduciary trust, duty, and honor to the

 Deployed Defendants in providing and obtaining the Emergency Contacts and Contracts;

 believing, albeit, incorrectly, that the Deployed Defendants would honor the fiduciary duty by




                                                  11
Case 3:07-cv-00961-HLA-MCR              Document 1    Filed 10/11/07     Page 12 of 22 PageID 12




 paying Unlimited Resources its proportional share of any received income (the “Fiduciary

 Duty”).

 65.       The procurement of these contracts was only possible through the expertise, reputation,

 and professional contacts of Unlimited Resources, by and through Johnson.

 66.       Additionally, the Deployed Defendants, as part of the Fiduciary Duty, owed Unlimited

 Resources a duty of care to refrain from intentional misconduct.

 67.       The Deployed Defendants breached the Fiduciary Duty owed to Unlimited Resources by

 refusing to pay Unlimited Resources its rightful share of all income derived there from of all

 form and manner, or in any way related to the Emergency Disaster Contacts and Contracts.

 68.       This breach was done willfully, wantonly, and maliciously, for the sole purpose of

 inequitably denying Unlimited Resources its rightful share of income.

 69.       As a result of the breach, Unlimited Resources has been damaged.

           WHEREFORE, Unlimited Resources demands judgment for damages, including punitive

 damages, against the Deployed Defendants together with interest, costs, attorney’s fees, and all

 other relief deemed just and proper.

                         COUNT VIII – FRAUDULENT INDUCEMENT

 70.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 71.       Deployed Defendants represented to Unlimited Resources that if Unlimited Resources

 invested with the Deployed Defendants by providing its emergency disaster contacts to identify

 clients and procure emergency disaster contracts for the financial benefit of the Deployed

 Defendants, that Unlimited Resources was entitled to receive and fully share all income derived




                                                 12
Case 3:07-cv-00961-HLA-MCR           Document 1        Filed 10/11/07      Page 13 of 22 PageID 13




 there from of all form and manner, or in any way related to the Emergency Disaster Contacts and

 Contracts.

 72.    This representation was a misrepresentation of a material fact, in that the Deployed

 Defendants knew that at no time did they intend to pay Unlimited Resources its rightful share of

 the income (“the Misrepresentation”).

 73.    Due to the Fiduciary Duty the Deployed Defendants owed to Unlimited Resources, the

 Deployed Defendants had a duty to disclose the Misrepresentation to Unlimited Resources.

 74.    The Deployed Defendants failed to disclose the Misrepresentation, as it was done

 willfully, wantonly, and maliciously, for the sole purpose of inducing the Plaintiff’s reliance

 upon the Misrepresentation, and thus provide the Deployed Defendants with access to its

 Emergency Disaster Contacts and Contracts.

 75.    Based upon the Misrepresentation, Unlimited Resources actually relied upon the

 Misrepresentation, and based upon the Misrepresentation, entered into an agreement (whether

 the agreement sounds in contract, quasi-contract, partnership agreement, or joint venture

 agreement) with the Deployed Defendants to market the product and services of the Deployed

 Defendants using its extensive network of emergency contacts to obtain lucrative emergency

 disaster contracts approximating $100 million for the Deployed Defendants.

 76.    The procurement of these contracts was only possible through the expertise, reputation,

 and professional contacts of Unlimited Resources, by and through Johnson.

 77.    Notwithstanding Unlimited Resource’s performance, the Deployed Defendants breached

 the agreement by refusing to pay Unlimited Resources its rightful share of income derived there

 from of all form and manner, or in any way related to the initial contracts.




                                                 13
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07       Page 14 of 22 PageID 14




 78.       This breach was done willfully, wantonly, and maliciously, for the sole purpose of

 inequitably denying unlimited Resources its rightful share of income.

 79.       As a result of the breach, Unlimited Resources has been damaged.

           WHEREFORE, Unlimited Resources demands judgment for damages, including punitive

 damages, against the Deployed Defendants, together with interest, costs, and all other relief

 deemed just and proper.

                   COUNT IX – MISAPPROPRIATION OF TRADE SECRETS

 80.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 81.       This is an action brought under Fla. Stat. § 688.001 et seq, the Uniform Trade Secrets

 Act.

 82.       Unlimited Resources is a “person” within the meaning of Fla. Stat. § 688.022(3).

 83.       The Deployed Defendants are “persons” within the meaning of Fla. Stat. § 688.022(3).

 84.       The Emergency Disaster Contacts and Contracts are “trade secrets” within the meaning

 of Fla. Stat. § 688.022(4).

 85.       The Deployed Defendants, due to their fiduciary relationship with Unlimited Resources,

 were privy to Unlimited Resources’ Emergency Disaster Contacts and Contracts.

 86.       Unlimited Resources took all reasonable steps to protect the secrecy of its Emergency

 Disaster Contacts and Contracts.

 87.       The Defendants acquired Plaintiff’s trade secrets and Defendants knew or had reason to

 know that Defendants were to maintain their secrecy and to refrain from using the information to

 obtain contracts without providing Unlimited Resources its rightful share of the income.

 88.       The harm to Unlimited Resources is irreparable and continuing.




                                                  14
Case 3:07-cv-00961-HLA-MCR            Document 1           Filed 10/11/07   Page 15 of 22 PageID 15




 89.    By failing to justly compensate Unlimited Resources, the Deployed Defendants

 misappropriated, by improper means, the Emergency Disaster Contacts and Contracts.

 90.    This misappropriation was done willfully, wantonly, and maliciously, for the sole

 purpose of inequitably denying Unlimited Resources its rightful share of income.

 91.    As a result of this misappropriation, Unlimited Resources was damaged.

        WHEREFORE, Unlimited Resources demands judgment for damages, including punitive

 damages, against the Deployed Defendants, together with interest, costs, attorney’s fees pursuant

 to Fla. Stat. § 688.005, and all other relief deemed just and proper.

                                   COUNT X
                            THEFT OF TRADE SECRETS
                   AGAINST DEPLOYED DEFENDANTS - INJUNCTION

 92.    Plaintiff realleges paragraphs 1 through 29 above as if fully set forth herein.

 93.    This is an action under Florida Statutes § 688.003.

 94.    Deployed Defendants acquired Plaintiff’s trade secrets by improper means.

 95.    Unlimited Resources is entitled to an injunction enjoining any further misappropriation,

 and further, mandating the return of all trade secrets.

 96.    Much of Unlimited Resources damages are irreparable in nature and cannot be

 compensated with money damages.

 97.    Unlimited Resources has no adequate remedy at law.

        WHEREFORE, Plaintiff requests an injunction mandating the return of all improperly

 acquired trade secrets, enjoining Defendants’ further misappropriation of Plaintiff’s trade secrets,

 and an award of attorneys’ fees and costs.




                                                  15
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07     Page 16 of 22 PageID 16




                 COUNT XI – DECEPTIVE AND UNFAIR TRADE PRACTICES

 98.       Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 99.       This is an action brought under Fla. Stat. § 501.201 et seq, the Florida Deceptive and

 Unfair Trade Practices Act.

 100.      Unlimited Resources is an “interested party or person” within the meaning of Fla. Stat. §

 501.203(6).

 101.      By failing to justly compensate Unlimited Resources, the Deployed Defendants

 misappropriated, by improper means, the Emergency Disaster Contacts and Contracts.

 102.      The misappropriation of the Emergency Disaster Contacts and Contracts was both unfair

 and deceptive.

 103.      This misappropriation was done willfully, wantonly, and maliciously, for the sole

 purpose of inequitably denying Unlimited Resources its rightful share of income.

 104.      As a result of this misappropriation, Unlimited Resources was damaged.

           WHEREFORE, Unlimited Resources demands judgment for damages against the

 Deployed Defendants, together with interest, costs, attorney’s fees, and all other relief deemed

 just and proper.

       COUNT XII TORTUOUS INTERFERENCE WITH A BUSINESS RELATIONSHIP

 105.      Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 106.      Unlimited Resources and the Deployed Defendants were engaged in a business

 relationship.




                                                  16
Case 3:07-cv-00961-HLA-MCR            Document 1       Filed 10/11/07     Page 17 of 22 PageID 17




 107.      As an active participant in this relationship, the Deployed Defendants had knowledge of

 the relationship.

 108.      The Deployed Defendants profited from access to Unlimited Resources Emergency

 Disaster Contacts and Contracts, in that the Deployed Defendants identified clients and procured

 emergency disaster contracts for their financial benefit.

 109.      The procurement of these contracts was only possible through the expertise, reputation,

 and professional contacts of Unlimited Resources, by and through Johnson.

 110.      By engaging in such profit without justly compensating Unlimited Resources, the

 Deployed Defendants intentionally and unjustly interfered with the business relationship.

 111.      As a result of this interference, Unlimited Resources was damaged.

           WHEREFORE, Plaintiff demands judgment for damages against the Deployed

 Defendants, together with interest, costs, attorney’s fees, and all other relief deemed just and

 proper.

           COUNT XIII – FEDERAL RACKETEER INFLUENCED AND CORRUPT
                              ORGANIZATIONS ACT

 112.      Unlimited Resources incorporates by reference paragraphs 1-29 as if fully set forth

 herein.

 113.      This is an action brought under the Federal Racketeer Influenced and Corrupt

 Organizations Act, 18 U.S.C. § 1962 (The “RICO Act”).

 114.      Unlimited Resources is a “person” within the meaning of 18 U.S.C. § 1961(3).

 115.      The Defendants are all “persons” within the meaning of 18 U.S.C. § 1961(3).

 116.      At all times material hereto, the Defendants operated an “enterprise” within the meaning

 of 18 U.S.C. § 1961(4), as they were a group of individuals and entities associated in fact for the

 purpose of engaging in a systematic scheme to steal millions of dollars from Unlimited



                                                  17
Case 3:07-cv-00961-HLA-MCR           Document 1       Filed 10/11/07      Page 18 of 22 PageID 18




 Resources through the use of mail and wire fraud, and to engage in theft to accomplish the goals

 of the enterprise.

 117.    The Defendants willfully and knowingly conspired among themselves and with others

 within the meaning of 18 U.S.C. § 1962(d), to participate in the affairs of the aforesaid enterprise

 through a pattern of racketeering activity and violation of Section 1962(c), and willfully and

 knowingly conspired among themselves and with others to receive income derived from a

 pattern of racketeering activity to enrich themselves personally and/or to use or invest the

 income, directly or indirectly, to establish or operate an enterprise within the meaning of 18

 U.S.C. § 1961(4) that engaged in interstate commerce, all in violation of Section 1962(a).

 118.    The Defendants also participated in a pattern of racketeering activity in violation of

 Section 1962(c) and received income derived from the pattern of racketeering activity and used

 that income in violation of Section 1962(a).

 119.    In order to effect the objective of the aforesaid enterprise and pattern of racketeering

 activity, the Defendants committed numerous violations of Section 18 U.S.C. § 1343, which

 prohibits the use of wire communications in interstate and foreign commerce in furtherance of

 schemes and artifices to defraud, and of 18 U.S.C. § 2314, which prohibits the transmittal in

 interstate and foreign commerce of money taken by fraud.

 120.    In violation of 18 U.S.C. § 1343, the Defendants committed numerous acts of wire fraud

 in connection with the agreement they entered into with Unlimited Resources.

 121.    The Defendants overt acts of racketeering occurred in a pattern designed to effectuate the

 intent and purposes of the Deployed Defendants.

 122.    The Defendants have transmitted money obtained by fraud in interstate and foreign

 commerce numerous times.




                                                 18
Case 3:07-cv-00961-HLA-MCR           Document 1        Filed 10/11/07       Page 19 of 22 PageID 19




 123.   In violation of 18 U.S.C. § 1956(a)(1), the Defendants knowingly, willfully and

 intentionally did conduct, cause to be conducted, and aided and abetted others in conducting,

 various financial transactions, knowing that the money involved in each transaction represented

 the proceeds of some sort of unlawful activity and with the intent of carrying on such unlawful

 activity and/or knowing that each financial transaction was designed, in whole or in part, to

 conceal or disguise from Unlimited Resources the nature, the location, the source, the ownership,

 or the control of the proceeds of the fraudulent activity. Each financial transaction, in fact,

 involved the use of one or more financial institutions engaged in and/or the activities of which

 affect interstate and foreign commerce. Each financial transaction involved the proceeds of

 specified unlawful activity, including but not limited to the wire fraud described above.

 124.   In violation of 18 U.S.C. § 1957, the Defendants knowingly, unlawfully and willfully

 engaged, caused to be engaged, or aided and abetted others in engaging in monetary transactions

 in criminally derived property of a value greater than $10,000.00, knowing that the property

 involved in each monetary transaction constituted, or was derived from, proceeds obtained from

 some criminal offense. The property involved in each monetary transaction was, in fact, derived

 from specified unlawful activity, including but not limited to, the wire fraud described above.

 125.   In violation of 18 U.S.C. § 2314, the Defendants knowingly, willfully and intentionally

 did transmit or transfer, cause to be transmitted or transferred, and aided and aided and abetted

 others in transmitting and transferring in interstate and foreign commerce, money in excess of

 $5,000.00, knowing that the money involved in each transaction had been taken by fraud, and

 each transmittal or transfer did, in fact, involve money taken by fraud.

 126.   At all times material hereto, the Defendants knowingly, willfully and unlawfully

 conspired within the meaning of 18 U.S.C. § 1962(d) to:




                                                 19
Case 3:07-cv-00961-HLA-MCR             Document 1       Filed 10/11/07    Page 20 of 22 PageID 20




        A.       Participate in an enterprise through a pattern of racketeering activity in violation

 of Section 1962(c);

        B.       To receive income derived from a pattern of racketeering activity and invest or

 use that income in an enterprise within the meaning of 18 U.S.C. § 1961(4) that engaged in

 interstate commerce in violation of Section 1962(a).

 127.   Plaintiff and other victims’ injuries flow directly from the use of wire communications by

 the Defendants.

 128.   Upon information and belief, the Defendants used the income derived from their

 aforesaid pattern of racketeering activity to enrich themselves.

 129.   As a direct and proximate result of the aforesaid violations of 18 U.S.C. § 1961, et seq,

 described herein, Unlimited Resources suffered damages.

        WHEREFORE, Plaintiff demands judgment for damages, including any multiples of

 damages permitted, against the Defendants, together with interest, costs, attorney’s fees, and all

 other relief deemed just and proper

     COUNT XIV – VIOLATION OF FLORIDA CIVIL REMEDIES FOR CRIMINAL
                            PRACTICES ACT

 130.   Unlimited Resources incorporates by reference paragraphs 1-29 and 30-129 as if fully set

 forth herein.

 131.   This is an action for violation of Fla. Stat. § 772.104, the “Civil Remedies for Criminal

 Practices Act,” including Defendants’ commission, attempt, or conspiracy to commit crimes

 under 18 U.S.C. § 1961 (RICO), by way of violations of 18 U.S.C. §§1341 and 1343.

 132.   The Deployed Defendants, through innumerable combinations, have continually violated

 Fla. Stat. § 772.103(3) by accessing the Emergency Disaster Contacts and Contracts of

 Unlimited Resources without providing just compensation.



                                                  20
Case 3:07-cv-00961-HLA-MCR           Document 1        Filed 10/11/07    Page 21 of 22 PageID 21




 133.   The Deployed Defendants engaged in a pattern of criminal activity defined by Fla. Stat. §

 772.103.

 134.   Defendant, Deployed Resources, is an enterprise as defined by Fla. Stat. § 772.103, and

 collectively, Defendants, as an association of principals and agents formed an enterprise under

 Fla. Stat. § 772.103.

 135.   The Deployed Defendants, through innumerable combinations, have violated Fla. Stat. §

 772.103(4) by conspiring to access the Emergency Disaster Contacts and Contracts of Unlimited

 Resources without providing just compensation.

 136.   As a proximate cause of the Defendants’ criminal activities, Unlimited Resources, has

 been damaged.

        WHEREFORE, Plaintiff demands judgment for damages, including any multiples of

 damages permitted, against the Deployed Defendants, together with interest, costs, attorney’s

 fees, and all other relief deemed just and proper.

                              COUNT XV – CIVIL CONSPIRACY

 137.   Unlimited Resources incorporates by reference paragraphs 1-29 and 30-136 as if fully set

 forth herein.

 138.   All Defendants, by their common design, agreed and conspired among themselves, to

 engage in the wrongful conduct set forth in Counts I through XIV of this Complaint.

 139.   Defendants consist of two or more persons, as described in this Complaint.

 140.   Defendants, in innumerable combinations, conspired to do unlawful acts including, but

 not limited to, tax avoidance, fraudulent transfer, income shelter, creditor avoidance, accounting

 frustration, fraudulent inducement, tortuous interference with business transactions, and breach

 of contract.




                                                  21
Case 3:07-cv-00961-HLA-MCR           Document 1        Filed 10/11/07     Page 22 of 22 PageID 22




 141.   Defendants committed the misrepresentations, and tortuous and criminal acts herein

 alleged pursuant to, and in furtherance of, this conspiracy.

 142.   As a proximate result of the Defendants’ malicious and unlawful actions, and their

 agreements and conspiracy to commit such actions, Unlimited Resources has suffered and will

 continue to suffer damages in an amount to be proven at trial.

 143.   Additionally, in engaging in the aforesaid course of conduct, Defendants have acted with

 fraud, oppression and malice, and Unlimited Resources is therefore entitled to recover punitive

 damages in an amount to be proven at trial.

        WHEREFORE, Unlimited Resources demands judgment against the Defendants for

 damages, punitive damages, interest, costs, and all other relief this Court deems just and proper.

                                         JURY DEMAND

        Plaintiff, Unlimited Resources, demands trial by jury on all issues so triable.

                                                                                                      ,

                                                         /s/ Daniel A. Nicholas___________
                                                         DANIEL A. NICHOLAS, ESQ.
                                                         Fla. Bar No. 847755
                                                         BROAD AND CASSEL
                                                         100 N. Tampa Street,
                                                         Suite 3500
                                                         Tampa, Florida 33602
                                                         Phone: (813) 225-3020
                                                         Fax: (813) 225-3039
                                                         dnicholas@broadandcassel.com
                                                         TRIAL COUNSEL FOR PLAINTIFF




                                                  22
